    j         CASE 0:12-cv-02168-MJD-JSM Doc. 1-2 Filed 09/05/12 Page 1 of 10
    I1                                                 Exhibit B


-   ~     STATE OF MINNESOTA                                                          DISTRICT COURT

         COUNTY OF HENNEPIN                                              FOURTH JUDICIAL DISTRICT
                                                                                    Case Type: Civil


         Christopher Thompson,                                              Court File No.

                                          Plaintiff,

         v.                                                          COMPLAINT
                                                                     AND JURY DEMAND

         Officers Mi'Quel Barnes and,
         Craig Crisp Jr., in their individual
         and official capacities as Minneapolis
         Police Officers, and the City of
         Minneapolis,

                                          Defendants.




                Plaintiff Christopher Thompson, for his complaint against the above-named Defendants,

         states and alleges as follows:

                 1.     This is an action for money damages for injuries sustained by Christopher

         Thompson, as a result of the violations by Defendants of Thompson's clearly established rights

         under the Constitution of the United States, federal statutes, and Minnesota's common law.

         Thompson demands that this case be tried to a jury.

                                                           PARTIES

                2.      At all times relevant to this action, Thompson was a citizen ofthe United States of

         America and a resident of the State of Minnesota and the County of Hennepin.

                3.      At all times relevant to this action, Defendants were employed by and acting,


                                                            1




                                                   Page 1 of 10
     CASE 0:12-cv-02168-MJD-JSM Doc. 1-2 Filed 09/05/12 Page 2 of 10
                                          Exhibit B


under color oflaw, as agents of the Minneapolis Police Department and the City of Minneapolis.

        4.     Thompson sues the Defendant Officers in their official and individual capacities ..

        5.     At all times relevant to this action, the City of Minneapolis was and is a duly

incorporated municipal corporation and the employer and principal of the Defendants.

                                 JURISDICTION AND VENUE

        6.     Thompson brings this action pursuant to the Fourth and Fourteenth Amendments

to the Constitution of the United States, 42 U.S.C. §§ 1983 and 1988, and Minnesota's common

law which confer upon this Court jurisdiction as to all claims.

        7.     Because all of the facts complained of arose in the CityofMinneajJolis, this action

properly lies in Hennepin County.

                                  FACTUAL ALLEGATIONS

       8.      At the time of the incident complained of, Thompson resided in Minneapolis.

       9.      On April 1, 2012, at approximately 1:40 a.m., Thompson was walking with a

friend up 4th St. SE in Dinkytown, eating a slice of pizza.

       10.     When Thompson was finished eating his pizza, he tried to toss the crust into a

garbage can, but missed. The pizza crust fell on the ground. Thompson continued walking.

       11.     The Defendants were standing nearby and observed Thompson's pizza .crust fall to

the ground. Defendant Barnes called out to Thompson to pick up his pizza crust, but Thompson

did not hear Defendant Barnes because of the commotion on the street and sidewalk that is

attendant to any early morning in Dinkytown.

       12.     Offended by the perceived disrespect Thompson was showing to the officers,

Defendant Barnes ran after Thompson, grabbed his jacket, and ordered him to "Pick up your



                                                 2



                                       Page 2 of 10
     CASE 0:12-cv-02168-MJD-JSM Doc. 1-2 Filed 09/05/12 Page 3 of 10
                                          Exhibit B


f'l'cking trash!" Thompson replied that he would, and then did in fact pick up and properly

dispose of his pizza crust.

        13.     Defendant Barnes retorted, "Now you're going to f'l'cking jail because you're

talking sh*t," and threw Thompson against the squad car. Thompson was then handcuffed and

placed into the squad car.

        14.     Thompson's friend, who remained on the sidewalk, spoke with the Defendants

briefly and assured them that he and Thompson would get home safe if allowed to leave. Having

concluded that Thompson did not have any outstanding warrants, and suspecting him only of

petty misdemeanor littering, the Defendants decided to release Thompson. Before releasing

Thompson from the squad car, one of the Defendants told Thompson's friend, "You better tell

your friend to keep his f'l'cking mouth shut or else ...."

        15.    Thompson was then removed from the squad car. Defendant Barnes stood behind

Thompson, holding onto his cuffed hands. Defendant Crisp stood in front of Thompson and

asked him, "You got anything else to say?"

        16.    Thompson's friend stated, "Chris, don't say anything," to which Thompson

replied, "They can't do anything, I don't have any warrants."

        17.    Officer Crisp then shouted, "Didn't I tell you to shut the f'l'ck up?!" Officer Barnes

then delivered a blow to the rear of Thompson's head using his elbow, as Officer Crisp followed

up with multiple strikes to the front Thompson's head using an impact weapon, at least one of

which split Thompson's forehead wide open. Thompson remained handcuffed and compliant

throughout the attack, while Officer Barnes continued to hold Thompson's hand-cuffed hands so

that self-defense was impossible.



                                                  3



                                        Page 3 of 10
     CASE 0:12-cv-02168-MJD-JSM Doc. 1-2 Filed 09/05/12 Page 4 of 10
                                           Exhibit B


        18.     The Defendants then threw Thompson against the squad car and struck him

several more times about his body, neck and head while he was still in handcuffs.

        19.    The Defendants then noticed Thompson's friend was still standing nearby in a

state of shock. One of the Defendants shouted, "Get the fl'ck out of here or you're next!"

Thompson's friend backed away slowly with his hands up.

        20.    The Defendants then placed Thompson back in the squad car and drove him to

jail, leaving a puddle of blood on the ground where Thompson had been.

        21.    Thompson suffered lasting injuries as a result of this incident. It took 13 stitches

to close the gash on his forehead, and the scar remains visible to this day.

        22.    The Defendants filed false and misleading police reports that caused Thompson to

be criminally charged with Obstruction of Legal Process.

       23.     The Obstruction charge was dismissed outright, and Thompson pled guilty to the

petty misdemeal!or offense of littering.

       24.     There was no legitimate law enforcement purpose for the force used against

Thompson, who remained handcuffed and compliant throughout the attack.

          COUNT 1- EXCESSIVE FORCE IN VIOLATION OF 42 U.S.C. § 1983

       Plaintiffre-alleges paragraphs 1-24 as if fully stated herein and further states and alleges:

       25.     The Defendants, while acting imder color of state law, deprived Thompson of his

constitutional right to be free from unreasonable sei=e. To wit, the Defendants' actions

constituted excessive force in violation of the Fourth and Fourteenth Amendments when they

used elbow strikes, punches, impact weapons, ·and kicks to intentionally injure Mr. Thompson

with no legitimate, countervailing law enforcement purpose.



                                                  4



                                        Page 4 of 10
     CASE 0:12-cv-02168-MJD-JSM Doc. 1-2 Filed 09/05/12 Page 5 of 10
                                          Exhibit B


        26.     The intentional acts of the Defendants actually and proximately caused extensive

damage to Thompson's person, psyche, emotional well-being, and brain, as well as real physical

injury and lasting harm.

        Plaintiff demands relief as set forth below.

       COUNT 2- FAILURE TO INTERVENE IN VIOLATION OF 42 U.S.C. § 1983

        Plaintiffre-alleges paragraphs 1-26 as if fully stated herein and further states and alleges:

        27.    The Defendants each had a meaningful opportunity, and a duty, to intervene on

Thompson's behalf to stop the use of excessive force by each other Defendant.

        28.    The Defendants failed to intervene and Thompson was injured as a result. This

failure to intervene was ·the actual, direct and proximate cause of Thompson's injuries.

Specifically, when Defendant Barnes continued to hold Thompson in place while Defendant

Crisp struck him repeatedly, and when both Defendants then proceeded to strike Thompson in

unison, each Defendant failed to intervene to halt the constitutional violations being committed

by the other Defendant. These intentional actions and inactions constitute a separate and distinct

constitutional violation.

       Plaintiff demands relief as set forth below.

              COUNT 3- FALSE ARREST IN VIOLATION OF 42 U.S.C. § 1983

       Plaintiffre-alleges paragraphs 1-28 as if fully stated herein and further states and alleges:

       29.     Having already committed illegal acts that left real injuries, the Defendants then

arrested Thompson without arguable probable cause or a warrant in violation of the Fourth ·

Amendment, so that he could be charged with Obstruction of Legal Process - a crime he had not

committed- in order to cover up the misconduct of the officers. Petty misdemeanor littering, the.



                                                  5



                                       Page 5 of 10
     CASE 0:12-cv-02168-MJD-JSM Doc. 1-2 Filed 09/05/12 Page 6 of 10
                                            Exhibit B


only infraction that Thompson actually committed, is not an arrestable offense.

          30.       This false arrest was the actual, direct and proximate cause of Thompson's

injuries, including loss of liberty and having to hire a lawyer to defend the tab-charges that

resulted from the Defendants' filing offalse and misleading police reports.

          Plaintiff demands relief as set forth below.

                                          COUNT 4 :_BATTERY

Plaintiff re-alleges paragraphs 1-30 and further states:

    31.         By intentionally striking, beating and kicking Mr. Thompson while he was compliant

and hand-cuffed, Defend\illtS used more physical force than was reasonable and necessary under

the circumstances without Thompson's consent. Such unwanted contact and excessive force

constitutes common law battery.

    32.         As a direct, actual and proximate result of the actions of the Defendants, Thompson

suffered physical injury, pain and suffering, mental anguish and humiliation.

    33.         Defendant City of Minneapolis is jointly and severally liable for the actions of the

police officers under the doctrines of agency and respondeat superior.

Plaintiff demands relief as set forth below.

                                            COUNT 5 -ASSAULT

Plaintiffre-alleges paragraphs 1-33 and further states:

    34.      Defendants' threatening actions and words caused Plaintiff to be in reasonable fear of

inuninent great bodily harm. These actions and the display of force by Defendants constitute

common law assault.

   35.          As a direct and proximate result of Defendants' intentionally threatening actions,



                                                    6



                                          Page 6 of 10
    CASE 0:12-cv-02168-MJD-JSM Doc. 1-2 Filed 09/05/12 Page 7 of 10
                                            Exhibit B


Plaintiff suffered physical injury, pain and suffering, mental anguish and humiliation.

     36.        Defendant City of Minneapolis is jointly and severally liable for the actions of the

police officers under the doctrines of agency and respondeat superior.

Plaintiff demands relief as set forth below.

                                 COUNT 6- FALSE IMPRISONMENT

Plaintiff re-alleges paragraphs 1-37 and further states:

    38.         The Defendants did detain Thompson and cause him to be confined within bounds

fixed bythe Defendants against Thompson's will and without his consent, while he was aware of

it and suffered because of it. The Defendants did so without legal claim of right or any good faith

belief in a legal claim of right.

    39.         Defendant City of Minneapolis is jointly and severally liable for the actions of the

police officers under the doctrines of agency and respondeat superior.

Plaintiff demands relief as set forth below.

                      COUNT 7- AIDING AND ABETTING TORTIOUS CONDUCT

          Plaintiffre-alleges paragraphs 1-39 as if fully stated herein and further states and alleges:

          40.     Each Defendant aided and abetted the other Defendant by intentionally assisting

him in the assault, battery, false arrest and imprisonment ofThompson.

          41.     The Defendants further sought to cover up their .misconduct by arresting

Thompson and filing false and misleading police reports so that Thompson would be charged for

the commission of crimes of which he was not legitimately suspected:

          42.     These acts and omissions were the direct, proximate and actual cause of

Thompson's damages.



                                                    7



                                         Page 7 of 10
   CASE 0:12-cv-02168-MJD-JSM Doc. 1-2 Filed 09/05/12 Page 8 of 10
                                         Exhibit B


       43.    Defendant City of Minneapolis is jointly and severally liable for the actions oftbe

police officers under the doctrines of agency and respondeat superior.

       Plaintiff demands relif;f as set forth below.

                                     PRAYER FOR RELIEF

       WHEREFORE, Plaintiff prays for judgment against the Defendants as follows:

       a.     awarding Plaintiff compensatory damages against Defendants, and each of them,

              jointly and severally, in the amount of $500,000;

       b.    ·awarding Plaintiff punitive damages, which are available on the § 1983 claims

              against the individual officers as a matter of federal common law, Smith v. Wade,

              461 U.S. 30 (1983), in an amount to be determined at trial;

       c.     awarding Plaintiff all of his costs and disbursements, including reasonable

              attorney's fees as allowed bylaw, including 42 U.S.C. § 1988;

       d.     reserving Plaintiff the right to amend his complaint to add a claim or prayer for

              relieffor punitive damages on his state law claims; and

      e.      granting such other relief as the Court may deem just and equitable.




                                                  8



                                      Page 8 of 10
      '   .
                 CASE 0:12-cv-02168-MJD-JSM Doc. 1-2 Filed 09/05/12 Page 9 of 10
                                            Exhibit B


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              Dated:   1/f_ r/12-                       By:

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                                                 9



                                          Page 9 of 10
'   .
           CASE 0:12-cv-02168-MJD-JSM Doc. 1-2 Filed 09/05/12 Page 10 of 10
                                              Exhibit B


                                ACKNOWLEDGMENTREQUllrnDBY
                               MINNESOTA STATUTE SECTION 549.211

                The parties represented by the undersigned hereby acknowledge that pursuant to Minn.

        Stat. Section 549.211, monetary and/or non-monetary sanctions may be imposed for claims made

        in violation of that statute.




                                                     10




                                           Page 10 of 10
